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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.         CV 16-2719 DSF                                                                              Date        10/6/17
 Title:           Graciela Herrera v. City of Los Angeles

 Present: The Honorable            DALE S. FISCHER, United States District Judge
                            Debra Plato                                                                        Amy Diaz
                            Deputy Clerk                                                                 Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                 Attorneys Present for Defendants:
                             Dale Galipo                                                                      Colleen Smith
                           Erik Valenzuela                                                                     Cory Brente

                              Day Court Trial         Fourth                                Day Jury Trial
                                                st
           One day trial:           Begun (1 day);               Held & Continued;            X      Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
 X    Witnesses called, sworn and testified.          X   Exhibits Identified         X     Exhibits admitted.

      Plaintiff(s) rest.                              X   Defendant(s) rest.
 X    Closing arguments made by                       X   plaintiff(s)           X        defendant(s).          X     Court instructs jury.
 X    Bailiff(s) sworn.                               X   Jury retires to deliberate.                                  Jury resumes deliberations.
 X    Jury Verdict in favor of                        X   plaintiff(s)                    defendant(s) is read and filed.
 X    Jury polled.                                        Polling waived.
 X    Filed Witness & Exhibit Lists                   X   Filed jury notes.      X        Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is               granted.           denied.        X   submitted.
      Motion for mistrial by                                                     is               granted.           denied.            submitted.
      Motion for Judgment/Directed Verdict by                                    is               granted.           denied.            submitted.
      Settlement reached and placed on the record.
 X    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 X    Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                       for further trial/further jury deliberation.
 X    Other:      Jury Notes 1 and 2 received.

                                                                                                                        6           :        10

                                                                                Initials of Deputy Clerk         dp
cc:


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